              Case 2:21-cv-01966-APG-EJY Document 4 Filed 11/01/21 Page 1 of 1




 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 Leroy Hall McCoy,                                         Case No.: 2:21-cv-01966-APG-EJY

 4             Petitioner,                              Order Denying Application to Proceed in
                                                        Forma Pauperis and Directing Payment of
 5 v.                                                                 Filing Fee

 6 Calvin Johnson, et al.,                                               [ECF No. 1]

 7             Respondents.

 8            This is a habeas corpus action under 28 U.S.C. § 2254. Petitioner has submitted an

 9 application to proceed in forma pauperis.1 Petitioner did not submit a financial certificate signed

10 by a prison official, but the statements attached to the application show that he has enough

11 money to pay the filing fee of $5.00.

12            IT THEREFORE IS ORDERED that the application to proceed in forma pauperis (ECF

13 No. 1) is DENIED. Petitioner will have 45 days from the date that this order is entered to have

14 the filing fee of $5.00 sent to the clerk of the court. Failure to comply will result in the dismissal

15 of this action.

16            IT FURTHER IS ORDERED that the clerk of the court send petitioner two copies of this

17 order. Petitioner must make the necessary arrangements to have one copy of this order attached

18 to the check paying the filing fee.

19            DATED: November 1, 2021

20

21
                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
22

23
     1
         ECF No. 1.
